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 1   JEFFREY BOSSERT CLARK
     Acting Assistant Attorney General
 2   ERNESTO H. MOLINA, JR.
 3   Deputy Director
     CHRISTOPHER A. BATES
 4   Senior Counsel to the Assistant Attorney General
 5   W. DANIEL SHIEH
 6   BENJAMIN MARK MOSS
     Senior Litigation Counsel
 7   NANCY K. CANTER (263198)
 8   ANTHONY J. MESSURI
     JONATHAN K. ROSS
 9   Trial Attorneys
10   Office of Immigration Litigation
     U.S. Department of Justice
11
     P.O. Box 878, Ben Franklin Station
12   Washington, D.C. 20044
13   Telephone: (202) 305-9802
     Daniel.Shieh@usdoj.gov
14
     Counsel for Defendants
15
16                            UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
17
18      Lucas R., et. al.,                        Case No.: 18-cv-05741-DMG-PLA
19                                                DEFENDANTS’
        Plaintiffs,                               CORRECTED/CONFORMING
20                                                REPLY TO PLAINTIFFS’
21      v.                                        RESPONSE TO DEFENDANTS’
                                                  MOTION FOR PARTIAL
22      Alex M. Azar,                             SUMMARY JUDGMENT
23      Secretary of U.S. Dep’t of Health and     Hearing: Dec. 11, 2020, 3:00 p.m. PT
        Human Services, et al.,                   Location: Courtroom 8C, 8th Floor
24
                                                  350 West First Street
25      Defendants.                               Los Angeles, CA 90012
26                                                Honorable Dolly M. Gee
27                                                United States District Judge
28

                                                     1
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 1   I.      INTRODUCTION
 2           As Defendants have explained, the sprawling policies and procedures that Plaintiffs seek
 3   to impose on the Office of Refugee Resettlement’s (ORR) unaccompanied alien children (UAC)
 4   program through judicial mandate would improperly and dramatically alter the system that
 5   Congress entrusted to ORR and that ORR has soundly operationalized. The claims raised by the
 6   step-up, unfit-custodian, and legal-representation classes are barred by res judicata, and even if
 7   the Court were to reach Plaintiffs’ claims on the merits, all three fail as a matter of law.
 8   II.     ARGUMENT
 9           A.    Defendants are Entitled to Judgment as a Matter of Law Because Plaintiffs’
10                 Claims are Barred by Res Judicata.
             As Defendants have explained, Defendants are entitled to judgment as a matter of law
11
     because Plaintiffs’ step-up, release, and legal-representation claims are barred by res judicata.
12
     See Defs.’ Br. 14-18, 34-37, 51-53; see also Defs.’ Opp. 8-9. Plaintiffs’ arguments to the
13
     contrary, Pls.’ Opp. 2-11, fail. Incredibly, Plaintiffs’ entire res judicata argument, Pls.’ Opp. 2-
14
     11, cites to language from the Flores Settlement just once, id. at 9-10, n.7, without ever
15
     addressing what the Settlement purported to settle.1
16
              First, Plaintiffs argue that “[t]here is no identity of claims because the material facts and
17
     evidence in this case postdate the [Settlement].” Pls.’ Opp. 4, see also id. at 4-6. In particular,
18
     they assert that the Ninth Circuit has “‘adopt[ed] a bright-line rule that res judicata does not apply
19
     to events post-dating the filing of the initial complaint’” or to “‘claims that accrue after the filing
20
     of the operative complaint.’” Pls.’ Opp. 4 (quoting Howard v. City of Coos Bay, 871 F.3d 1032,
21
     1039-40 (9th Cir. 2017)). But the reason there was no identity of claims in Howard—the case
22
     they cite—was because the plaintiff “could not have brought” her claims in the earlier suit. 871
23
     F.3d at 1040. The plaintiff in Howard alleged she had been retaliated against for filing a
24
     whistleblower complaint, but the alleged retaliation in the second suit did not occur until after
25
     she had filed and twice amended her complaint in the prior suit. Id. at 1038. The court thus held
26
27   1
       Plaintiffs contest only the first res judicata factor—identity of claims. They acknowledge that
28   “the [Settlement] is a final judgment,” Pls.’ Opp. 4, n.1, and do not address at all whether there
     is privity between the parties.
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 1   that the plaintiff’s second suit was not precluded because the “retaliation claims in [the second]
 2   suit arose from events that occurred after she filed her complaint” in the first suit. Id. at 1040.
 3         That is not the situation here, where the parties entered into a settlement agreement in a
 4   prior case to resolve the same claims on the same due-process theory that Plaintiffs advance here.
 5   Compare Flores v. Meese, 934 F.2d 991, 995 (9th Cir. 1990) (“Flores’s second claim challenged
 6   the INS’s failure to provide ... ‘prompt, mandatory, neutral and detached’ review following arrest
 7   [on suspicion that a minor may be deportable]” regarding “whether probable cause to arrest
 8   existed” and “whether any available adult was suitable to ensure the detained juvenile’s well-
 9   being and appearance at future proceedings [if released]”), and Settlement ¶¶ 21, 23-24 (setting
10   forth standards for when a UAC may be placed in a secure detention facility and procedures for
11   review of secure placement decisions); id. ¶¶ 14, 17, 28B (setting forth standards for sponsorship
12   and release determinations and procedures for review of such determinations), with Lucas R.
13   Compl. ¶¶ 183-84 (alleging that Defendants violate due process by placing UACs “in RTCs,
14   secure facilities, and medium-secure facilities without affording them a meaningful opportunity
15   to be heard”), and id. ¶¶ 180-81 (alleging that Defendants violate due process by “delay[ing] or
16   refus[ing] to release children ... without affording detained minors or their proposed custodians
17   a timely, prompt, or meaningful opportunity to be heard regarding the custodians’ fitness”). Not
18   only “could” Plaintiffs have brought their claims in the prior suit, see Howard, 871 F.3d at
19   1040—they did.2
20         Plaintiffs contend that they “could not have brought their current challenges to ORR’s
21   practices regarding step-up, custodial vetting, and access to legal counsel in Flores for at least
22   three reasons.” Pls.’ Opp. 5. All three reasons fail. The first reason is that “at the time the
23   [Settlement] was entered, the [HSA] had not yet assigned ORR responsibility for the care of
24   unaccompanied minors” and “the ORR policies and practices challenged in this case were
25
     2
26    Notably, Plaintiffs base their claims on case law that long pre-dates the Settlement applying the
     Fifth Amendment to the domestic child-welfare and juvenile-justice contexts. See generally Pls.’
27   Br. (relying on, inter alia, In re Gault, 387 U.S. 1 (1967); Parham v. J.R., 442 U.S. 584 (1979);
28   Vitek v. Jones 445 U.S. 480 (1980); Schall v. Martin, 467 U.S. 253 (1984)). This reinforces that
     Plaintiffs could have brought—and in fact did bring—the same claims in Flores.
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 1   therefore not yet in existence.” Id. That is irrelevant. Plaintiffs argue that due process requires
 2   additional procedures beyond what the parties negotiated in Flores. Pls.’ Br. 29-36, 38-49.
 3   Whether res judicata precludes this argument does not depend on which agency currently has
 4   responsibility over UACs or what specific procedures that agency provides, so long as the agency
 5   is bound by Flores (and ORR is).3
 6         Plaintiffs’ second reason why they could not have brought their claims in Flores is that, at
 7   the time of Flores, “Congress had not yet enacted the TVPRA.” Pls.’ Opp. 5. But as Defendants
 8   have explained, Defs.’ Br. 14-18, 34-37, 51-53, the procedures Plaintiffs seek are found nowhere
 9   in the TVPRA. Rather, if those procedures are to be created as a result of the TVPRA, they must
10   be created by a court under the theory that (a) the TVPRA creates a liberty interest, and (b) due
11   process demands the procedures Plaintiffs seek to protect that interest. But even if the TVPRA
12   created a liberty interest (and as Defendants have explained, Defs.’ Br. 19-21, 38-39, 53-54, it
13   does not), any process that attached would be no greater than the process that would exist under
14   a constitutionally grounded liberty interest, and the Flores Settlement conclusively resolved for
15   Plaintiffs what process is due in satisfaction of their constitutional claims in that case.
16         Plaintiffs’ third reason why they could not have brought their claims in Flores is that “none
17   of the named Plaintiffs” were “in ORR custody at the time that lawsuit was filed or even at the
18
     3
      Plaintiffs’ reliance on Orff v. United States, 358 F.3d 1137 (9th Cir. 2004), and Whole Woman’s
19
     Health v. Hellerstedt, 136 S. Ct. 2292 (2016), is misplaced. See Pls.’ Opp. 5-6. Orff held that
20   the government was not precluded from asserting sovereign immunity because “the facts the
21   district court relied on to find a waiver of sovereign immunity in [the first case] do not apply
     here” and because the second case arose out of endangered species designations that “occurred
22   long after” the first case was decided. Id. at 1144. Here, by contrast, the facts of the Settlement—
23   which remains in force—are directly relevant to Plaintiffs’ argument that due process requires
     more than what the parties agreed to in Flores regarding step-up, release, and legal representation.
24   In Whole Woman’s Health, the Court ruled that the petitioners’ as-applied challenge to an
25   abortion statute was “not ‘the very same claim’ as their [prior] preenforcement facial challenge”
26   because the petitioners’ challenge rested on “later, concrete factual developments.” 136 S. Ct. at
     2305-06. Here, the relevant facts are the same as in Flores—the procedures required by due
27   process for challenging where minors in ORR custody are housed, when and how they are
28   released, and the legal services they are afforded while in care. None of the “developments”
     since Flores alters what due process requires on these subjects.
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 1   time the FSA was entered.” Pls.’ Opp. 5. But that is irrelevant. Plaintiffs do not dispute that
 2   there is privity between the parties or that they are members of the certified Flores class and thus
 3   bound by the Settlement. They provide no reason why they should be able to enjoy the relief
 4   already provided under the Settlement while simultaneously seeking additional relief under the
 5   same due-process theory as in Flores. Nor do they explain why the government should continue
 6   to be bound by an agreement that did not (under Plaintiffs’ theory) actually resolve the certified
 7   class’s due-process claims. Importantly, Plaintiffs do not seek individualized injunctive relief
 8   based on the discrete circumstances of each named Plaintiff. (Nor could they, since none of the
 9   named Plaintiffs remains in ORR custody.) And Defendants do not seek summary judgment as
10   to issues not covered by the Settlement. 4 Rather, at issue in both parties’ cross-motions for
11   summary judgment are the claims that Defendants’ policies and procedures regarding placement,
12   release, and legal representation of UACs contravene due process. Those claims were brought
13   in Flores.
14         In a similar vein, Plaintiffs contend that there is not identity of claims because “the
15   evidence presented in this action is not substantially the same evidence presented in Flores.”
16   Pls.’ Opp. 6 (internal quotations omitted). According to Plaintiffs, this is because “[b]oth parties’
17   summary judgment motions rely on evidence regarding ORR’s specific policies, all of which
18   long postdate the FSA.” Id. But as explained, whether due process requires more than the
19   Settlement provides does not depend on ORR’s current procedures, rendering that evidence
20   inapplicable to the res judicata analysis.
21         Second, Plaintiffs argue that “[t]here is no identity of claims because this case does not
22   involve infringement of the same rights at issue in Flores.” Pls.’ Opp. 6; see also id. at 6-8. In
23   particular, Plaintiffs contend that because the TVPRA was not enacted until after the Settlement,
24   their “claim that greater process is due when ORR denies children their rights under the TVPRA
25   … cannot be barred by res judicata.” Pls.’ Opp. 6-7. This argument fails. When Plaintiffs’ say
26   that the TVPRA guarantees “greater process” for UACs, it is unclear if they mean that the
27
     4
28    For example, Defendants have not argued that res judicata applies to the drug-administration
     class or the disability class, as those classes raise claims not covered by the Settlement.
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 1   TVPRA itself prescribes additional procedures or that the TVPRA creates a liberty interest that
 2   requires additional procedures. If the former, Plaintiffs have already conceded that “neither the
 3   TVPRA nor the [Settlement] prescribes procedures.” Pls.’ Br. 2. If the latter, as Defendants
 4   have explained, Defs.’ Br. 19-21, 38-39, 53-54, the TVPRA does not create a liberty interest.
 5   And even if it did, that interest would not require greater procedures than a constitutionally
 6   grounded liberty interest, which the Settlement already resolved.5 As to Plaintiffs’ purported
 7   “substantive” TVPRA claims, Pls.’ Opp. 7, Plaintiffs have not argued (until now) that they are
 8   raising substantive claims under the TVPRA; thus, those claims are not properly before the Court.
 9   See McMichael v. Napa Cnty., 709 F.2d 1268, 1273 n.4 (9th Cir. 1983) (“Because none of the
10   state law claims were included in the complaint, we need not consider them.”).6 And even if
11   those claims were properly before the Court, the relief that Plaintiffs seek on those claims—trial-
12   like hearings every 30 days and government-funded legal representation, Pls.’ Proposed Order
13   ¶¶ 11, 16—is found nowhere in the TVPRA and must be created, if at all, on the theory that due
14   process demands those procedures. Thus, as Defendants have explained, Defs.’ Br. 33-34, 48-
15   49, 58, Plaintiffs’ TVPRA claims are simply their due-process claims recast as statutory
16   violations, and are therefore precluded by res judicata.
17         Third, Plaintiffs argue that there is not identity of claims because “[t]his action furthers,
18   rather than impairs, the rights and interests the FSA establishes.” Pls.’ Opp. 8. But a settlement
19   agreement, like any other contract, runs both ways. Plaintiffs fail to explain how altering
20   Defendants’ bargained-for promise that providing certain policies and procedures with respect to
21
22   5
       Plaintiffs argue that Flores could not have “resolved what process is due to protect statutory
23   rights” created under the TVPRA, Pls.’ Opp. 7, but the only “right” they identify is the TVPRA’s
     instruction to place UACs in the “least restrictive setting that is in the best interest of the child”
24   (subject to the Secretary’s considerations of danger to self, danger to others, or risk of flight).
25   8 U.S.C. § 1232(c)(2)(A); see Pls.’ Opp. 7. This is no different from the Settlement’s directive
26   that Defendants shall “place each detained minor in the least restrictive setting appropriate to the
     minor’s age and special needs.” Settlement ¶ 11.
27   6
       Defendants withdraw their reliance on King v. Atiyeh, 814 F.2d 565 (1987), overruled by Lacey
28   v. Maricopa Cnty., 693 F.3d 896 (9th Cir. 2012). But this does not affect the proposition that
     causes of action not raised in the complaint at all are waived. See McMichael, 709 F.2d at 1273.
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 1   placement, release, and legal representation of UACs would satisfy the Flores class’s due-process
 2   claims would not impair Defendants’ rights under the Settlement. See Defs.’ Br. 16-17, 35, 52.
 3         Fourth, Plaintiffs argue that “[r]es judicata does not preclude claims by absent class
 4   members on issues not fully addressed by the FSA.” Pls.’ Opp. 8, see also id. at 8-11. This is
 5   wrong. The Settlement did “fully address” the issues in dispute in this case. As explained, Defs.’
 6   Br. 17-18, 35-37, 52-53, the Settlement sets forth criteria for placement and release decisions, as
 7   well as procedures for challenging such decisions, and also described UACs’ right to legal
 8   representation. Plaintiffs assert that this case is “indistinguishable” from Hiser v. Franklin, 94
 9   F.3d 1287 (9th Cir. 1996); see Pls.’ Opp. 9, but there, the prior suit gave “no consideration” at
10   all to the policy challenged in the subsequent suit, 84 F.3d at 1293. Here, by contrast, the
11   government’s policies and procedures regarding placement, release, and legal representation, are
12   directly at issue in both suits.7 Res judicata thus applies and precludes these claims.
13          B.     Defendants Are Entitled to Judgment as a Matter of Law on the Step-Up
14                 Class’s Due-Process Claim.
           The Court should grant summary judgment for Defendants on the step-up class’s due-
15
     process claim because ORR’s policies and practices satisfy due process as a matter of law.
16
     See Defs.’ Br. 18-33. Plaintiffs’ arguments to the contrary all fail. Pls.’ Opp. 11-33.
17
                    1) Private interests
18
           As explained, the private interests at stake for the step-up class are limited. Defs.’ Br. 19-
19
     24. Plaintiffs’ arguments to the contrary, Pls.’ Opp. 12-19, are unavailing.8
20
21   7
       Plaintiffs assert that “numerous courts have ordered ORR to afford Flores class members
22   additional procedural protections,” Pls.’ Opp. 10, but the cases they cite are inapposite. Saravia
23   v. Sessions, 905 F.3d 1137, 1140-41 (9th Cir. 2018), involved the re-arrest of UACs who had
     already been placed with sponsors, a scenario not at issue in either Flores or this litigation.
24   See Pls.’ Opp. 10. L.V.M. v. Lloyd, 318 F. Supp. 3d 601 (S.D.N.Y. 2018), involved a policy that
25   required the ORR Director to separately approve the release of any child who had been stepped
26   up, again a scenario not at issue in either Flores or this case. Beltran v. Cardall, 222 F. Supp. 3d
     476 (E.D. Va. 2016), Santos v. Smith, 260 F. Supp. 3d 598 (W.D. Va. 2017), and Maldonado v.
27   Lloyd, 2018 WL 2089348 (S.D.N.Y. 2018), all involved individual habeas petitions challenging
28   individual release decisions, a scenario the Settlement expressly contemplates, see ¶ 36.
     8
       Plaintiffs argue that “Defendants concede that Plaintiffs have liberty interests protected by the
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 1         First, Plaintiffs argue that their “liberty interests are not diminished simply because they
 2   are children.” Pls.’ Opp. 12. This is wrong. Plaintiffs invoke the two-Justice view expressed in
 3   a concurrence in Reno v. Flores, 507 U.S. 292, 316 (1993) (O’Connor, J., concurring). See Pls.’
 4   Opp. 12. But the Court in Reno held that the “right to come and go at will” was “not at issue” in
 5   that case because “juveniles, unlike adults, are always in some form of custody.” Id. at 302. And
 6   the Supreme Court emphasized in Schall, 467 U.S. 253, that a juvenile’s “interest in freedom
 7   from institutional restraints” is “qualified by the recognition that juveniles, unlike adults, are
 8   always in some form of custody.” Id. at 265. Plaintiffs attempt to distinguish Schall on the
 9   ground that there were “numerous procedural safeguards” in that case, Pls.’ Opp. 12-13, but that
10   is irrelevant to whether children have a diminished liberty interest in freedom from custody
11   because they are children—a question Schall (and Reno) answer in the affirmative.
12         Second, Plaintiffs argue that “Defendants minimize Plaintiffs’ liberty interests because
13   children can ostensibly control the duration of their ORR detention by applying for legal status
14   or by accepting removal or voluntary departure to their home countries.” Pls.’ Opp. 13. But
15   Plaintiffs never refute Defendants’ point that unlike minors in the domestic juvenile-justice
16   context, UACs can obtain release from custody by identifying a suitable sponsor. See Defs.’
17   Br. 22. Indeed, several of the named Plaintiffs were released from a restrictive placement to a
18   sponsor. See DX-41 ¶ 55; DX-50 ¶ 38; DX-55 ¶ 30; DX-58 ¶ 61. This alone meaningfully
19   distinguishes the liberty interest at stake in the ORR context from the domestic juvenile-justice
20   context. Plaintiffs assert that “[v]oluntary removal or departure is not an option for many
21   unaccompanied children.” Pls.’ Opp. 14. But voluntary departure does not need to be available
22   to all UACs to confirm the diminished nature of Plaintiffs’ asserted class-wide liberty interest.
23   Plaintiffs also argue that the possibility of obtaining immigration relief does not meaningfully
24   diminish Plaintiffs’ asserted liberty interests because “[w]aiting up to five years to obtain legal
25
26   Fifth Amendment,” Pls.’ Opp. 12, which Plaintiffs apparently understand to be different from
     “the first prong of the Mathews test, which focuses on how substantial that liberty interest is to a
27   private individual, “see id. at 20, n.17. This is wrong. The first factor under Mathews v. Eldridge,
28   424 U.S. 319 (1976), simply goes to “the private interest that will be affected by the official
     action,” id. at 335, and courts have both identified, and weighed, that interest together.
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 1   status is hardly [an] easy road to freedom.” Pls.’ Opp. 13. But obtaining lawful immigration
 2   status often takes far less time. 9 And in any event, the availability of alternative means of
 3   obtaining release distinguishes the ORR context from the juvenile-justice context for purposes of
 4   evaluating the strength of the liberty interest at stake.
 5          Third, Plaintiffs argue that “when children are deprived of their liberty and placed in jail-
 6   like or restrictive settings, that deprivation dictates the process required, not their custodial status.”
 7   Pls.’ Opp. 14. But the only evidence that Plaintiffs invoke is a single report that relies on a single
 8   internet article which does not support that proposition (and which does not discuss federal
 9   immigration custody). See DX-88 [Quinn Expert Rep.] at 16. And Plaintiffs’ argument conflicts
10   with Reno v. Flores, which stated that “Congress regularly makes rules [for noncitizens] that
11   would be unacceptable if applied to citizens.” 507 U.S. at 305-06 (internal quotations omitted).
12          Fourth, Plaintiffs claim that “Defendants concede that Residential Treatment Centers
13   (‘RTCs’) are as restrictive as secure jail-like facilities” and that it is undisputed that “RTCs are
14   locked facilities where children feel compelled to take psychotropic medications.” Pls.’ Opp. 15
15   (citation omitted). Both points are wrong. As Defendants have explained, Defs.’ Br. 23-24,
16   ORR’s two residential treatment centers are based on a group home model that is not like a
17   “secure jail-like” facility. Defs.’ Fact Response ¶ 118; see also Defs.’ Fact Reply ¶ 44. And
18   Plaintiffs’ claim that children at residential treatment centers feel “compelled” to take
19   psychotropic medication is unsupported by the record. See Defs.’ Fact Response ¶¶ 133-34.
20          Fifth, Plaintiffs argue that “the characteristics of staff-secure facilities show they constitute
21   restrictive detention.” Pls.’ Opp. 16. But as Defendants have explained, Defs.’ Br. 24, staff-
22   secure facilities do not have locked pods or cell units, and in almost all states they maintain an
23   identical type of license as a non-secure care provider. See Defs.’ U.F. ¶¶ 39-40. The only
24   evidence that Plaintiffs cite in support of their claim is a report by an individual who has never
25   visited any ORR facility, see DX-89 [Quinn Dep.] 81:21-22, and whose report states that she
26   9
      “The first number is the time it takes to complete 50% of cases (the median). The second number
27   is the time it takes to complete 93% of cases.” https://egov.uscis.gov/processing-times/more-info
28   (last visited Nov. 11, 2020). Thus, for T status, half of these cases are processed in 18.5 months
     or less, not “anywhere from 18-29 months,” as Plaintiffs assert, Pls.’ Opp. 13.
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 1   “was unable to find any photographs or written documents that compare the Staff Secure units
 2   with ordinary shelter facilities,” and instead relied upon “a video … recently posted online” for
 3   the facility’s physical attributes. See Pls.’ Ex. 180 [Quinn Expert Report] at 330-333. Such
 4   unsupported assertions come nowhere close to creating a genuine dispute of material fact
 5   contravening Defendants’ direct, first-hand evidence that staff-secure facilities are not restrictive
 6   detention. See Defs.’ U.F. ¶¶ 37-40; see, e.g., DX-08 [Dr. Ryan Dep.] 260:19-21 (“Q. How
 7   would you compare shelters that you visited with BCFS staff secure? A. Indistinguishable.”).
 8         Finally, Plaintiffs argue that they “also have protected liberty interests stemming from the
 9   TVPRA and the FSA.” Pls.’ Opp. 17, see also id. at 17-19. But as Defendants have explained,
10   Defs.’ Br. 19-21, Plaintiffs have at most a limited interest under the TVPRA, and none under the
11   Settlement, to the procedural remedies they seek in this case, because neither the statute nor the
12   Settlement mandates a particular outcome. See Ky. Dep’t of Corrections v. Thompson, 490 U.S.
13   454, 463 (1989). Plaintiffs rely on the word, “shall,” but that alone is insufficient. Rather, the
14   inquiry is for “relevant mandatory language that expressly requires the decisionmaker to apply
15   certain substantive predicates in determining whether an inmate may be deprived of the particular
16   interest in question.” Id. at 464 n. 4, (emphasis in original). Plaintiffs suggest that this view runs
17   afoul of the Court’s class-certification order, Pls.’ Opp. 17, but that order said only that “Plaintiffs
18   have satisfactorily identified the substantive rights underlying their procedural due process
19   claims,” Order at 15 (emphasis added). It did not assess the strength of those asserted rights, nor
20   did it hold that any such rights required the procedural remedies that Plaintiffs seek here.
21                  2) Risk of erroneous deprivation
22         As Defendants have explained, ORR’s policies and procedures for the step-up class
23   already minimize the risk of erroneous deprivation, and adding the procedures that Plaintiffs seek
24   would not meaningfully reduce that risk. See Defs.’ Br. 25-31. Plaintiffs’ contrary arguments,
25   Pls.’ Opp. 19-32, fail.
26         To start, Plaintiffs argue that “ORR’s policies offend even the most basic notions of
27   minimum due process and violate the Administrative Procedure Act … because they fail to
28

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 1   provide children notice and a meaningful opportunity to be heard.” Pls.’ Opp. 19. But as
 2   Defendants have explained, Defs.’ Opp. 9-11, this argument is meritless.
 3          Plaintiffs’ other arguments on the risk of erroneous deprivation fail too.
 4          First, Plaintiffs argue that “[t]he notice ORR provides is inadequate and inconsistent with
 5   due process.” Pls.’ Opp. 21. But as Defendants have explained, Defs.’ Opp. 20-22, due process
 6   does not require prior notice before the placement decision, see In re Gault, 387 U.S. at 33
 7   (“notice must be given sufficiently in advance of scheduled court proceedings”). Plaintiffs argue
 8   that “children do not consistently know or understand the reasons for restrictive placements.”
 9   Pls.’ Opp. 21. But as Defendants have explained, Defs.’ Opp. 21-22, that claim is unsupported
10   by the record, and refuted by ORR policy.
11          Second, Plaintiffs argue that “ORR fails to provide Class Members the opportunity to be
12   heard.” Pls.’ Opp. 21, see also id. at 21-23. To start, Plaintiffs assert that “the Flores bond
13   hearing does little to reduce the risk of erroneous placement.” Id. at 21. But as Defendants have
14   explained, Defs.’ Br. 17-18; Defs.’ Opp. 10, 23-24, this argument is foreclosed by Flores v.
15   Sessions, 862 F.3d 863 (9th Cir. 2017), which said that a “hearing under Paragraph 24A [a Flores
16   bond hearing] provides meaningful protections,” id. at 868, and by the Settlement itself, which
17   mandated bond hearings in satisfaction of the plaintiffs’ due-process claims regarding placement,
18   see Settlement, pp. 3-4. Next, Plaintiffs attack the value of ORR’s internal administrative appeal
19   process through which UACs can challenge step-up decisions because “this pilot program could
20   be reversed at any time.” Pls.’ Opp. 22.10 But the pilot program merely expanded an already-
21   10
       Plaintiffs’ objection (Dkt. 289-2, ¶ 2) to DX-11 [July 1, 2020 Juvenile Coordinator Report
22   (Report)] is misplaced. Fact discovery closed on March 22, 2020 (Dkt. 221), and the Report was
23   not issued until July 1, 2020, more than three months later. Plaintiffs’ counsel, who include
     Flores class counsel, received actual notice of the Report the same day that Defendants’ counsel
24   learned of it, in the same public filing in Flores, see Notice of Filing of Coordinator Reports,
25   Flores v. Barr, 2:85-cv-04544-DMG-AGR (Dkt. 837, July 1, 2020). Plaintiffs identify no
26   prejudice from the absence of a supplemental Rule 26(e) disclosure resending a duplicate copy
     in this matter, nor could they, as they received actual notice of the Report. See Joint Stipulation
27   ¶¶ 102-03. Regardless, under Fed. R. Evid. 201(c)(1), the Court can take notice of the existence
28   of the Director review panel, as the report is admissible and self-authenticating under Fed. R.
     Evid. 803(8)(A) (public record) and 902(5) (official publication).
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 1   existing Director review process that pre-dates this litigation, see Defs.’ U.F. ¶ 64; DX-10
 2   [Biswas Decl.] ¶ 59 (“ORR has a pilot project for the Director Review to occur through the
 3   Placement Review Panel”). The fact that Defendants have implemented Director review through
 4   a panel does not constitute “voluntary cessation,” because it is not intended to moot any
 5   “allegedly illegal conduct.” Cnty. of Los Angeles v. Davis, 440 U.S. 625, 631 (1979). And the
 6   Director review panel is provided in addition to Flores bond hearings, review by the Flores
 7   compliance team, medical placement review, and internal staff review, see Defs.’ Br. 26-29. The
 8   Director review process constitutes evidence of ORR’s continual efforts to provide services to
 9   children in its care, not “a tacit admission that current policy fails to provide Plaintiffs adequate
10   due process,” Pls.’ Opp. 23. Likewise, the alleged deficiencies with the administrative appeal
11   process are largely beside the point, because the panel is one of several avenues through which
12   stepped-up minors can be heard. See Defs.’ Br. 26-29; see also Biliski v. Red Clay Consol. School
13   Dist. Bd. of Educ., 574 F.3d 214, 221 (3d Cir. 2009) (“We apply the interest-balancing framework
14   that the Supreme Court established in Mathews v. Eldridge to decide whether the totality of the
15   administrative process Biliski received in connection with his termination ... satisfied the
16   fundamental requirement of due process”) (internal quotations omitted).
17           Third, Plaintiffs argue that “ORR’s administrative review process prior to step-up is
18   inadequate” based on purported deficiencies including: ORR’s (alleged) lack of “an evidentiary
19   standard” and “a standardized metric,” “limited guidance ... to case staff,” lack of “formal
20   training,” “frequently changing policies” that are not “published for public scrutiny,” and
21   “unfettered discretion” to ORR staff. Pls.’ Opp. 23-24. Defendants have already explained why
22   each claim of deficiency is unavailing. Defs.’ Opp. 24-26.
23         Fourth, Plaintiffs argue that “ORR’s supposed requirement for a psychologist or
24   psychiatrist recommendation prior to step-up to RTC is insufficient.” Pls.’ Opp. 24; see also id.
25   at 24-27. Specifically, Plaintiffs argue that “ORR’s policies for placement in an RTC are not
26   consistently followed in practice.” This is wrong. Plaintiffs proffer no evidence that any
27   placements have violated the policy since it went into effect. See Pls.’ Fact Response ¶ 46. Each
28   named Plaintiff who was placed in residential care was placed there at the recommendation of a

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 1   psychologist or psychiatrist. See Defs.’ U.F. ¶¶ 109, 125, 140, 143-44, 145-46. Further, the
 2   Court in Flores did not order ORR to institute the policy, but rather to clarify whether a
 3   dangerousness finding was required based upon an existing policy that already required the
 4   recommendation of a psychiatrist or psychologist. See Flores v. Sessions, 2018 WL 10162328,
 5   at *8 (C.D. Cal. 2018) (citing the ORR Guide on “recommendation of a psychiatrist or
 6   psychologist ... for [a UAC] who poses a danger to self or others and does not require inpatient
 7   hospitalization.”). Plaintiffs also argue that “because the order is limited to placement procedures
 8   at a single RTC (Shiloh), nothing prevents ORR from returning to its old policy in placing
 9   children at other in-network and out-of-network RTCs without the required recommendation.”
10   Pls. Opp. 25. But as explained, the original policy already required a psychiatrist or psychologist
11   recommendation, and the notion that ORR would abandon a policy that merely expanded a pre-
12   existing one is sheer speculation. See Fikre v. Fed. Bureau of Investigations, 904 F.3d 1033,
13   1037 (9th Cir. 2018) (“Where the party is the government we presume it acts good faith.”).
14         Next, Plaintiffs argue that “even ORR’s current policy [requiring psychologist or
15   psychiatrist recommendation] falls considerably short of sufficient procedural due process.”
16   Pls.’ Opp. 25; see also id. at 25-27. This argument also lacks merit. As Defendants have
17   explained, Defs.’ Br. 27, even if ORR residential treatment centers were analogous to the
18   involuntary-hospitalization context in Parham, 442 U.S. 584—and they are not—ORR’s policies
19   satisfy the due-process requirements laid out in Parham. Plaintiffs argue that “[t]here is no
20   requirement that this review be conducted by a doctor independent from ORR.” Pls.’ Opp. 26.
21   But Parham held only that “some kind of inquiry should be made by a ‘neutral factfinder,’” and
22   that “a staff physician will suffice, so long as he or she is free to evaluate independently the
23   child’s mental and emotional condition and need for treatment.” Id. at 606-07. There is no
24   requirement that the doctor be independent from the institution. Plaintiffs further argue that
25   “unlike the statutory scheme in Parham, which placed an affirmative statutory duty on the
26   superintendent to discharge a child who no longer needed inpatient care, ORR policy does not
27   place the same affirmative duty on the program directors at ORR RTCs.” Pls.’ Opp. 26. But
28   Parham did not require the adoption of the statutory scheme in that case. To the contrary,

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 1   Parham stated: “Since well-established medical procedures already exist, we do not undertake to
 2   outline with specificity precisely what this investigation must involve.” 442 U.S. at 607.
 3         Fifth, Plaintiffs argue that ORR’s “administrative periodic review after step-up is likewise
 4   insufficient.” Pls.’ Opp. 27; see also id. at 27-28. Plaintiffs maintain that “ORR fails to comply
 5   with its own policy requiring placement review.” Id. at 27. But Plaintiffs’ cited evidence,
 6   see Pls.’ Fact Response ¶ 60, is based on cases from two years ago, and since ORR started
 7   conducting compliance reviews in November 2018, “the reviews have resulted in almost 100
 8   percent compliance,” DX-10 [Biswas Decl.] ¶ 52. Far from establishing a practice of “being
 9   deliberately indifferent,” Henry v. Cty. of Shasta, 132 F.3d 512, 517 (9th Cir. 1997), ORR’s swift
10   and decisive response to noncompliant cases shows the opposite. Plaintiffs further argue that
11   “[e]ven when ORR does provide a 30-day review, the review is still constitutionally inadequate”
12   because “[t]he fact that an internal monitoring panel reviews the NOP for compliance does not
13   eliminate the risks [of error].” Pls.’ Opp. 27-28. This is wrong. The process involves much
14   more than just reviewing the Notice of Placement, and requires a comprehensive review of the
15   entire placement decisions. See Defs.’ U.F. ¶¶ 58-62.
16         Sixth, Plaintiffs argue that “[t]he ORR Director reconsideration process is constitutionally
17   inadequate” because it “is only available to children placed RTCs and secure facilities, there is
18   no opportunity to be heard by a neutral fact finder, there is no ability to inspect or rebut evidence,
19   and there is no opportunity to present or cross-examine witnesses.” Pls.’ Opp. 28. But as
20   Defendants have explained, Defs.’ Br. 28-29, ORR Director review under ORR Guide § 1.4.7 is
21   only one of multiple review procedures, which collectively satisfies due process. See Biliski, 574
22   F.3d at 221 (looking to “the totality of the administrative process” under Mathews).
23         Seventh, Plaintiffs argue that ORR’s “erroneous placements and noncompliant cases
24   emphasize the need for more process and monitoring to prevent future erroneous placements.”
25   Pls.’ Opp. 29. In support, they cite a “November 2018 compliance review” and testimony on
26   noncompliant cases in “January 2019.” Id. Plaintiffs’ arguments fail. To start, the January 2019
27   data does not reference improper placements. Pls.’ Ex. 171 [Fink Dep.] 264:17-22 (“Q. Do you
28   see where it says ‘93 out of 128 cases were Non-Compliant’? A. Yes. Q. Does this mean there

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 1   were 93 improperly placed UACs? A. No.”). Further, the record shows that ORR’s compliance
 2   and monitoring procedures have significantly reduced the risk of error since November 2018.
 3   DX-33 [Ray Dep.] 74:11-14 (“Q. And by the end of the five months, do you have a – A. They
 4   were 100 percent compliant by then.”). Mathews requires a weighing of “the probable value, if
 5   any, of additional or substitute procedural safeguards.” 424 U.S. at 335 (emphasis added). The
 6   success of ORR’s existing compliance and review procedures negates the need for more.
 7   Certainly it negates any need for the sort of mini-trials that Plaintiffs seek in their proposed order.
 8   Plaintiffs also argue that Defendants’ claim that “most children spend at least two months in care
 9   before step up is not supported by any reliable evidence.” Pls.’ Opp. 29. This is wrong. Both
10   Dr. Ryan and Dr. Ryo agree that “step-up does not happen automatically,” and “[d]espite some
11   differences in denominator counts, Dr. Ryo notes that the average time to step up is 67.3 days
12   (page 10 of the Dr. Ryo expert report) and [Dr. Ryan] notes that the median time to step up is 60
13   days.” See Defs.’ Fact Reply ¶ 104 (quoting DX-92 [Dr. Ryan Decl.] at 1). And as Defendants
14   have explained, Defs.’ Opp. 18-19, Plaintiffs’ reliance on Jaime D. to illustrate risk of error is
15   misplaced, Pls.’ Opp. 30.
16         Finally, Plaintiffs argue that “Defendants cite no relevant legal authority for their
17   nonsensical position that Plaintiffs were required to set forth in painstaking detail the particular
18   procedures demanded by due process.” Pls.’ Opp. 30; see also id. at 30-32. What Defendants
19   actually said, Defs.’ Br. 30-31, is that Plaintiffs must fairly allege the relief they seek in the
20   operative complaint. See Pac. Radiation Oncology, LLC v. Queen’s Med. Ctr., 810 F.3d 631,
21   636-37 (9th Cir. 2015) (there must be “sufficient nexus between the claims raised in a motion for
22   injunctive relief and the claims set forth in the underlying complaint”). The operative complaint
23   says nothing about mini-trials or many of the other policy changes that Plaintiffs now demand.
24         Plaintiffs also attribute to Defendants the argument that “Plaintiffs’ relief is limited to any
25   procedural protections explicitly set forth in the class definition.”         Pls.’ Opp. 31.     What
26   Defendants actually said, Defs.’ Br. 31, is that the members of the certified class must be entitled
27   to the relief sought. And here, there is a clear misalignment between the members of the step-up
28   class (UACs in secure, staff-secure, or RTC facilities who were placed in such facilities without

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 1   notice and an opportunity to be heard regarding the placement within thirty days) and the relief
 2   sought (automatic, full-blown evidentiary hearings for all UACs at such facilities, regardless of
 3   whether they received notice and an opportunity to be heard within thirty days of step-up).
 4   Plaintiffs’ attempt, Pls.’ Opp. 32, to distinguish Al Otro Lado, Inc. v. McAleenan, 423 F. Supp.
 5   3d 848 (S.D. Cal. 2019), fails. Plaintiffs claim that Al Otro Lado held that “[o]nly in cases where
 6   ‘nationwide injunctive relief is not necessary ... to offer complete redress is it appropriate to limit
 7   the scope of relief ‘by the class definition.’” Pls.’ Opp. 32. That is not what Al Otro Lado held.
 8   Rather, the court stated: “[N]ationwide injunctive relief is not necessary in this case to offer
 9   complete redress. Rather, the scope of the injunctive relief is limited by the class definition.”
10   423 F. Supp. 3d at 878. Both statements underscore limitations on the Court’s power to issue
11   only injunctive relief that is tailored to this case.
12                  3) The government’s interest and Mathews balancing
13          As Defendants have explained, Defs.’ Br. 31-32, the government’s interests weigh heavily
14   in favor of Defendants. Plaintiffs’ arguments to the contrary fail. Pls.’ Opp. 32-33.
15          First, Plaintiffs argue that ORR’s “significant interests in the welfare of the children in
16   [its] care” “only underscores why ORR should provide procedures that protect the vulnerable
17   children in their custody.” Pls.’ Opp. 32. But as Defendants have explained, Defs.’ Br. 31-32,
18   ORR already provides extensive process, and Plaintiffs’ onerous proposed procedures could
19   jeopardize the safety of other UACs and staff. Plaintiffs fail to meaningfully address any of the
20   safety concerns the government raised.
21          Second, Plaintiffs argue that “ORR’s procedures are anemic and out of step with juvenile
22   justice practices.” Pls.’ Opp. 32, see also id. at 32-33. But as Defendants have explained, Defs’
23   Br. 22-29, ORR maintains robust procedures for the step-up class. And the Supreme Court has
24   long recognized that the procedures required in the immigration context need not parrot the
25   constitutional standards applicable to criminal proceedings. See Woodby v. INS, 385 U.S. 276,
26   284-85 (1966) (rejecting beyond a reasonable doubt standard because “a deportation proceeding
27   is not a criminal prosecution”).        Plaintiffs contend that the “very creation of [the] new
28   [administrative appeal] panel undermines Defendants’ arguments that their current procedures

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 1   are adequate,” and that because “[t]he administrative logistics and initial investment [in the panel]
 2   have already been undertaken,” additional “procedural process is not cost prohibitive.” Pls.’
 3   Opp. 32. But as explained above, ORR’s efforts to provide additional services is not an
 4   admission of fault, but rather evidence of continual developments in ORR care. In any event,
 5   Plaintiffs do not seek merely to maintain the administrative appeal panel (which they claim “is
 6   insufficient to protect against the significant risk of erroneous deprivation,” Pls.’ Opp. 23)—
 7   rather, they seek far more onerous procedures. See Pls.’ Proposed Order ¶¶ 5-11.
 8         Third, Plaintiffs argue that “the government’s failure to provide notice is even more
 9   egregious because it faces minimal burdens in providing adequate notice.” Pls.’ Opp. 33. But
10   as Defendants have explained, Defs.’ Opp. 20-22, ORR does provide notice that satisfies due
11   process, see Defs.’ U.F. ¶¶ 54-58, and is fully consistent with what the plaintiffs negotiated in
12   Flores, see Flores v. Sessions, 2018 WL 10162328, at *12 (the Settlement requires “notice within
13   a reasonable time after ORR renders its placement decision”).
14         Fourth, Plaintiffs argue that “Defendants miss the point when they tout the ‘considerable
15   evidence’ that justifies step-up,” because “[t]he critical flaw is that the evidence the government
16   references is never confronted by the child or their advocate, never put before a neutral arbiter
17   for review, and unilaterally reviewed by Defendants without ever hearing the child’s account.”
18   Pls.’ Opp. 33. But this argument simply restates Plaintiffs’ interest in additional procedures, not
19   the government’s interest. In any event, as Defendants have explained, Defs.’ Br. 26-29, these
20   claims are unsupported by the record, which demonstrates that children have multiple
21   opportunities to be heard, see Defs.’ U.F. ¶¶ 54-74.
22         Finally, Plaintiffs argue that “providing hearings would be only a minimal burden to the
23   government.” Pls. Opp. 33. As Defendants have explained, Defs.’ Opp. 31-33, this claim is
24   refuted by Plaintiffs’ sprawling 10-page proposed order. See Pls.’ Proposed Order ¶¶ 5-11.
25         For all these reasons, the balance of the Mathews factors conclusively favors judgment as
26   a matter of law for Defendants on the step-up claim.
27
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 1         C.     Defendants Are Entitled to Judgment as a Matter of Law on the Unfit-
                  Custodian Class’s Due-Process Claim.
 2
           The Court should grant summary judgment for Defendants on the unfit-custodian class’s
 3
     due-process claim because ORR’s policies and practices satisfy due process as a matter of law.
 4
     See Defs.’ Br. 38-49. Plaintiffs contend otherwise, Pls.’ Opp. 34-46, but their arguments fail.
 5
                   1) Private interests
 6
           As Defendants have explained, Defs.’ Br. 38-43, the private interests at stake for the unfit-
 7
     custodian class are limited. Plaintiffs’ contrary arguments, Pls.’ Opp. 39-41, lack merit.
 8
           First, Plaintiffs argue that the unfit-custodian class has “protected liberty interests
 9
     stemming from the TVPRA.” Pls.’ Opp. 34; see also id. at 34-36. This argument fails. As
10
     Defendants have explained, Defs.’ Br. 38-39, 8 U.S.C. § 1232(c)(2)(A) states that UACs shall be
11
     “promptly placed in the least restrictive setting that is in the best interest of the child,” concerns
12
     placement in ORR facilities, not placement with a sponsor. The provision does not mention the
13
     criteria for “placement” with a sponsor, which is set forth in 8 U.S.C. § 1232(c)(3). Plaintiffs
14
     argue that “[t]his distinction ignores the fact that ‘placement’ is used—in the TVPRA itself and
15
     in case law interpreting the statute—to refer to placement both with custodians and in licensed
16
     facilities.” Pls.’ Opp. 35. But statutory interpretation “is made by reference to the language itself,
17
     the specific context in which that language is used, and the broader context of the statute or
18
     agreement.” Confederated Tribes and Bands of Yakama Nation v. Yakima Cnty, 963 F.3d 982,
19
     990 (9th Cir. 2020). Here, context plainly indicates that section (c)(2) is not discussing placement
20
     with sponsors: “In making such placements, the Secretary may consider danger to self, danger to
21
     the community, and risk of flight.” Even if section (c)(2) could be applied to release, it lacks the
22
     necessary predicate to create a protected liberty interest, see Thompson, 490 U.S. at 472-63,
23
     particularly in light of language in section (c)(3) that prohibits release without the Secretary
24
     making a suitability determination. See Defs.’ Br. 39. Finally, Plaintiffs argue that “the absence
25
     of a ‘maximum time frame’ for when release decisions must be made” means that ORR has
26
     “unfettered discretion to detain children for indefinite periods of time.” Pls.’ Opp. 36. That
27
     hollow assertion is belied by ORR’s policies and procedures for UACs to be heard. See Defs.’
28
     U.F. ¶¶ 1-3, 8, 15, 23, 28.
                                                     17
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 1          Second, Plaintiffs argue that “Plaintiffs have protected liberty interests stemming from the
 2   FSA.” Pls.’ Opp. 36; see also id. at 36-37. But as Defendants have explained, Defs.’ Br. 39-40,
 3   Plaintiffs may not seek relief under a settlement to add new procedures they never bargained for.
 4   See Flores v. Sessions, 2018 WL 10162328, at *2-3; see also Beo, 44 F.3d at 1029.
 5          Third, Plaintiffs argue that “Plaintiffs have protected liberty interests stemming from the
 6   Constitution.” Pls.’ Opp. 37; see also id. at 37-39. To start, Plaintiffs assert that the Court “has
 7   already rejected Defendants’ argument that Plaintiffs are not entitled to procedural protections
 8   based on their immigration status.” Id. at 37. But Defendants do not argue that Plaintiffs are not
 9   entitled to any procedural protections based on their immigration status. See Defs.’ Br. 40-41.
10   Rather, the liberty interests of UACs in ORR care are limited, a limitation well-recognized in
11   case law. See, e.g., Reno v. Flores, 507 U.S. at 305-06 (“If we harbored any doubts as to the
12   constitutionality of institutional custody over unaccompanied juveniles, they would surely be
13   eliminated as to those juveniles ... who are aliens,” because “Congress regularly makes rules that
14   would be unacceptable if applied to citizens.”) (internal quotations omitted).
15          Next, Plaintiffs argue that “Defendants ask the Court to discount [their] interest [in family
16   unity] simply because some Class Members may have proposed custodians who are ‘distant
17   relatives or unrelated adult individuals.’” Pls.’ Opp. 38. But even if courts have recognized some
18   limited liberty interest in familial association with immediate relatives beyond parents in certain
19   circumstances, see Defs.’ Br. 41, that does not mean due process demands the same procedural
20   protections for every type of affected family relationship, as Plaintiffs seek. As Defendants have
21   explained, Defs.’ Opp. 37-39, 49-50; Defs.’ Fact Response ¶ 92 n.4, the child’s relationship with
22   the adult seeking custody has long dictated the liberty interest at stake.11
23          Finally, Plaintiffs argue that the TVPRA and the Settlement create liberty interests that
24   outweigh “any supposedly ‘weaker’ constitutional interest in familial association for the
25   relatively few Class Members seeking release to an adult other than a parent, legal guardian, or
26   11
       Plaintiffs also argue that “ORR presumes that some children do not have strong familial
27   connections with their proposed sponsors.” Pls.’ Opp. 38. But ORR does not “presume[ ]”
28   anything about the relationships between children and proposed sponsors. Id. ORR has extensive
     verification procedures to ascertain the relationship. See ORR Guide § 2.2.4.
                                                       18
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 1   close family relative.” Pls.’ Opp. 39. But as Defendants have explained, Defs.’ Br. 38-40, these
 2   asserted liberty interests fail, and Plaintiffs do not show how combining other limited liberty
 3   interests can “make up” any shortfall in their family-association-related interest. Pls.’ Opp. 39.
 4                  2) Risk of erroneous deprivation
 5         As Defendants have explained, Defs.’ Br. 43-47, ORR’s policies and practices for the
 6   unfit-custodian class already minimize the risk of error, and adding the procedures Plaintiffs seek
 7   would not meaningfully reduce that risk. Plaintiffs’ contrary arguments, Pls.’ Opp. 39-44, fail.
 8         To start, Plaintiffs again argue that “ORR’s policies ... fail to provide children notice and
 9   a meaningful opportunity to be heard” and that “[o]n this basis alone, Defendants’ Motion must
10   be denied.” Pls.’ Opp. 39. This is wrong. As Defendants have explained, Defs.’ Opp. 9-11,
11   Plaintiffs’ claim that ORR affords no process at all for the unfit-custodian class lacks merit.
12         Next, Plaintiffs invoke their arguments that ORR fails to provide adequate process. See
13   Pls.’ Opp. 40-41 (citing Pls.’ Br. 29-35). But as Defendants have explained, Defs.’ Opp. 44-45,
14   49, ORR provides each of the features that Plaintiffs claim are missing. Plaintiffs further assert
15   that Defendants do not “dispute the potential consequences of prolonged detention in ORR
16   custody.” Pls.’ Opp. 41. But Defendants do dispute this claim to the extent that it ignores how
17   prior trauma also affects the child’s experience and how children have benefited from time in a
18   structured, stable environment. See Defs.’ Fact Response ¶¶ 1-9. Finally, Plaintiffs allege that
19   “Class Members have been physically and sexually abused in ORR custody.” Pls.’ Opp. 41. But
20   as explained, Defs.’ Opp. 36, there is no evidence that the risk of harm is greater in ORR care
21   than in other state-licensed facilities, and ORR maintains robust child protection procedures.
22         Plaintiffs also raise four additional arguments in response to points Defendants made in
23   their summary judgment motion. See Pls.’ Opp. 41-44. These, too, fail.
24         First, Plaintiffs challenge Defendants’ contention “that their current processes ‘safeguard
25   against erroneous and arbitrary decisionmaking’ because “‘ORR’s release process is a
26   collaborative endeavor.’” Pls.’ Opp. 41 (quoting Defs.’ Br. 43). Plaintiffs argue that “children
27   and their proposed custodians are largely excluded from” release assessments, and that federal
28   field specialists “do[ ] not ... talk to children or their proposed sponsors before deciding to grant

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 1   or deny release.” Pls.’ Opp. 41. But as Defendants have explained, Defs.’ Opp. 26, ORR policy
 2   already requires case managers to coordinate communications with all stakeholders, including
 3   children and proposed sponsors, and Plaintiffs fail to show, as they must, why regular
 4   communication with the case manager, who works closely the federal field specialist and case
 5   coordinator, is constitutionally inadequate.
 6         Second, Plaintiffs challenge “Defendants’ contention that children and their proposed
 7   sponsors ‘are able to present their side of the story.’” Pls.’ Opp. 41 (quoting Defs.’ Br. 44).
 8   Plaintiffs argue that case managers have “unilateral authority to deny potential sponsors the
 9   opportunity to” submit information; that the “opportunity to ‘share’ information does not
10   constitute an opportunity to be heard”; and that ORR “is not required to present adverse evidence
11   to sponsors and children” or “give them an opportunity to rebut that evidence.” Pls.’ Opp. 41-
12   42. But as explained, Defs.’ Opp. 43-44, these claims are unsupported and do not reflect ORR
13   policy or practice, see Defs.’ U.F. ¶¶ 15, 18, 32-33; see also Defs.’ Fact Response ¶ 38.
14         Third, Plaintiffs challenge Defendants’ argument that “‘ORR provides a process for
15   appealing denial decisions’ involving parents and legal guardians.” Pls.’ Opp. 42 (quoting Defs.’
16   Br. 44-45). Plaintiffs argue that the right of parents and guardians to an administrative appeal “is
17   hardly sufficient to counterbalance ... limited opportunities to participate in the decision-making
18   process, particularly for proposed custodians who are not parents or legal guardians.”
19   Pls.’ Opp. 42. But as Defendants have explained, Defs.’ Opp. 37-39, 49-50, the varying liberty
20   interests at stake for parents compared to more distant relations have long dictated different
21   procedures in the state and federal child-welfare contexts. See Beltran, 222 F. Supp. 3d at 489
22   (“[w]here no parent is seeking custody of their child, the cases [involving domestic permanency
23   hearings] have no application”).
24         Finally, Plaintiffs challenge “Defendants’ contention that ‘release delays’ are attributable
25   to a child’s ‘lack of a sponsor or unresponsiveness from potential sponsors.’” Pls.’ Opp. 42
26   (quoting Defs.’ Br. 45-46). Plaintiffs argue that “release is unnecessarily delayed for ... reasons
27   entirely within Defendants’ control.” Pls.’ Opp. 42. These claims all fail. As to fingerprinting,
28   it is standard practice for most state child-welfare agencies, and ORR policy no longer requires

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 1   that all household members be fingerprinted. See Defs.’ Fact Response ¶ 48. Plaintiffs’ other
 2   complaints are unsupported by the record, see id. ¶¶ 44, 54, 67, 68, and in any event, to the extent
 3   that home studies, psychological evaluations, and stabilization of mental-health symptoms may
 4   affect when a child is released, those practices are well-rooted in established child-welfare
 5   principles. Next, Plaintiffs oppose reliance “on overall statistics regarding length of stay,” Pls.’
 6   Opp. 42-43, but the fact that ORR releases children far more quickly than domestic foster care
 7   systems bears directly on Plaintiffs’ claim that on a class-wide basis, “Defendants unreasonably
 8   and unnecessarily delay or refuse to release children,” Compl. ¶ 180. Lastly, Plaintiffs argue that
 9   “Defendants point to no undisputed evidence supporting their arguments that additional
10   procedural protections would be of limited value” because “there is a decisive difference of
11   opinion between the parties’ expert witnesses.” Pls.’ Opp. 43. This is incorrect. Defendants
12   have also pointed to ORR’s extensive current procedures, compared ORR length-of-stay data
13   against domestic foster care systems, and explained important differences between the two
14   systems. Defs.’ Br. 43-46; Defs.’ Opp. 40-50; see also Defs.’ Fact Response ¶ 93.
15                  3) The government’s interest and Mathews balancing
16         As Defendants have explained, Defs.’ Br. 48-49, the government’s interests and the
17   Mathews factors heavily favor Defendants. Plaintiffs’ contrary arguments, Pls.’ Opp. 44-45, fail.
18         To start, Plaintiffs argue that the parties’ “shared interest in ORR making the right release
19   decisions does not in any way diminish Plaintiffs’ interest in meaningfully participating in
20   decisions impacting their lives and liberty.” Pls.’ Opp. 44. But as Defendants have explained,
21   Defs.’ Br. 43-45, Defendants do not dispute that children should have a meaningful opportunity
22   to participate—which ORR provides. Rather, as explained, Defs.’ Opp. 50-52, Defendants take
23   issue with the extraordinarily disruptive procedures that Plaintiffs seek to impose on the program.
24   Plaintiffs also argue that the “harm children suffer in ORR custody” must be considered when
25   weighing the value of additional procedural protections.” Pls.’ Opp. 44. But ORR does consider
26   the risk of harm to children, which is why it works to ensure the safe and timely release of UACs
27   in its care. See Defs.’ U.F. ¶ 1. It is Plaintiffs who fail to weigh the (unproven) risk of harm from
28   custody against the risk from release to an inadequately vetted sponsor. See Defs.’ Opp. 36-37.

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 1          Next, Plaintiffs argue that their interests are not “outweighed by Defendants’ alleged
 2   interest in ‘safe release,’” because “child protection agencies are available to protect children
 3   following release from ORR custody.” Pls.’ Opp. 45. But ORR has an affirmative duty under 8
 4   U.S.C. § 1232(c)(3)(A) to “determin[e] that the proposed custodian is capable of providing for
 5   the child’s physical and mental well-being.” And ORR’s ability to follow up with sponsors after
 6   placement is limited because, unlike domestic child-welfare agencies, ORR does not maintain
 7   custody of the child after release. See Defs.’ U.F. ¶ 12.
 8          Finally, Plaintiffs argue that their “interests in being free from detention and to familial
 9   association far outweigh the government’s interests—fiscal, administrative or otherwise.”
10   Pls.’ Opp. 45. But as Defendants have explained, Defs.’ Br. 43-48, ORR already provides
11   extensive procedures that meaningfully reduces the risk of error, and the probable value of the
12   onerous procedures Plaintiffs seek is exceedingly low. Administrative burdens are not the
13   “principal” reason ORR does not provide additional procedures because ORR already provides
14   robust procedural protections that satisfy due process, see Defs.’ Br. 43-45.
15          For all these reasons, the balance of the Mathews factors conclusively favors judgment as
16   a matter of law for Defendants on the unfit-custodian claim.
17          D.    ORR’s Policies and Practices for the Step-Up and Unfit-Custodian Classes
18                Comport with the TVPRA and the APA.
            As Defendants have explained, Defs.’ Br. 33-34, 49-50, ORR’s policies and practices for
19
     the step-up and unfit-custodian classes comport with both the TVPRA and the APA.12 Plaintiffs’
20
     arguments to the contrary are wrong. See Pls.’ Opp. 46-48.
21
            First, Plaintiffs argue that “this Court has already determined that Plaintiffs ‘may raise
22
     their TVPRA claims under the APA’” and that “ORR’s custodial vetting and step-up practices
23
24
25   12
       As Defendants have explained, Defs.’ Br. 50-51, ORR’s policies and practices for the unfit-
26   custodian class also do not violate the First Amendment. Plaintiffs’ contrary arguments, Pls.’
     Opp. 46, lack merit. The case that Plaintiffs cite, Lee v. City of Los Angeles, 250 F.3d 668 (9th
27   Cir. 2001), does not suggest that any First Amendment associational interest extends to the distant
28   relations at issue in this case, nor does the case Lee relied on, Board of Directors v. Rotary Club,
     481 U.S. 545 (1987), which addressed membership at a private club.
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 1   independently violate the TVPRA.” Pls.’ Opp. 46-47. This is wrong. Plaintiffs seek class-wide,
 2   injunctive relief in the form of additional procedures for two classes of minors. See Compl.
 3   ¶¶ 179-84. They do not seek individual relief for purported violations of the TVPRA, nor do
 4   they seek injunctive relief to enjoin any particular ORR practice.13 Rather, as Defendants have
 5   explained, Defs.’ Br. 33-34, 49-50, Plaintiffs seek procedural remedies under the theory that the
 6   TVPRA creates a purported liberty interest that demands additional procedures as a matter of due
 7   process. This theory fails. See id.; see also Defs.’ Opp. 17-31, 40-50.
 8          Second, Plaintiffs argue that “Defendants’ policies violate the APA to the extent that they
 9   fail to comply with the hearing requirements set forth therein.” Pls.’ Opp. 48; see also id. 48-49.
10   But as explained, Defs.’ Opp. 33-34, 52, the APA’s formal-hearing requirements apply only in
11   “case[s] of adjudication required by statute to be determined on the record after opportunity for
12   an agency hearing.” 5 U.S.C. § 554(a). Congress did not “provide for any hearing whatsoever
13   within an administrative process” for ORR step-up and release decisions. Marathon Oil Co. v.
14   EPA, 564 F.2d 1253, 1263 (9th Cir. 1977). Thus, the APA does not require a hearing to contest
15   ORR step-up and release decisions as a matter of law.14
16          E.    Defendants Are Entitled to Judgment as a Matter of Law on the Legal-
17                Representation Class’s Claim.
            As Defendants have explained, Defs.’ Br. 57-59; Defs.’ Opp. 52-54, ORR’s policies and
18
     practices for the legal-representation class comport with the TVPRA.15 Plaintiffs arguments to
19
     the contrary, Pls.’ Opp. 48-54, do not withstand scrutiny.
20
21
22   13
        Nor could they, because no record evidence supports Plaintiffs’ claims that any of the purported
23   violations, even if they occurred as Plaintiffs claim, see Pls.’ Opp. 47 (“SDF ¶ 60 (citing evidence
     that ORR sometimes fails to review secure placements on a monthly basis)”), occurred on a class-
24   wide basis, see Defs.’ Reply U.F. ¶ 60.
     14
25      Aageson Grain & Cattle v. U.S. Dep't of Agric., 500 F.3d 1038 (9th Cir. 2007), does not
26   establish that the APA’s formal-hearing requirements apply any time a hearing is required by the
     Constitution. In Aageson, the statute itself, not due process, required a hearing. Id. at 1044.
27   15
        Plaintiffs do not press their legal-representation claims under the HSA, the APA, or the
28   immigration regulations in their motion or their opposition. Thus, those claims are waived.
     See Environment Furniture, 2010 WL 2757191, *3.
                                                         23
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 1          First, Plaintiffs argue that “Defendants’ first argument [that UACs do not have a
 2   procedural-due-process right to counsel under Mathews balancing] is a strawman” because
 3   Plaintiffs are asserting a “substantive” right to counsel under the TVPRA. Pls.’ Opp. 49 (citing
 4   Defs.’ Br. 53-54). Defendants accept Plaintiffs’ concession and agree that the Court cannot grant
 5   relief on a procedural-due-process ground for this claim. See Environment Furniture, Inc. v.
 6   Bina, 2010 WL 2757191, *3 (C.D. Cal. 2010) (“the Court does not consider” arguments “not
 7   raised in the Motion or in the Opposition”).
 8          Second, Plaintiffs argue that “the undisputed facts demonstrate that ORR frequently
 9   impedes lawyers’ ability to represent children effectively with respect to release, placement, and
10   medication decisions.” Pls.’ Opp. 49; see also id. 49-50. But as Defendants have explained,
11   Defs.’ Br. 55-56, Defs.’ Opp. 55-58, there is no genuine dispute of material fact that ORR does
12   not “block” access to counsel, which is what Plaintiffs alleged in their complaint. See Compl.
13   ¶¶ 143-52, 188-90.    Plaintiffs’ attempt to re-frame their claim as access to “meaningful”
14   representation, Pls.’ Opp. 50, was not properly alleged, and in any event, the new allegations,
15   even if true, do not establish that ORR’s procedures violate due process or any statute, see Defs.’
16   Opp. 57-58.
17          Third, Plaintiffs argue that “Plaintiffs do not here contend that Congress must supply
18   children with counsel to represent them with respect to release, placement, or medication
19   decisions,” but rather that “ORR blocks legal aid lawyers from using funds Congress elects to
20   appropriate.” Pls.’ Opp. 50. But as Defendants have explained, Defs.’ Br. 59, congressional
21   appropriations show that Congress intended to fund only access to immigration services.
22          Finally, Plaintiffs argue that “the TVPRA expressly covers ‘legal proceedings or matters’”
23   and that step-up, release, and psychotropic medication decisions are ‘legal proceedings or matters’
24   within the meaning of the TVPRA.” Pls.’ Opp. 50; see also id. at 50-54. This is wrong. To start,
25   ORR decisions with regard to release, placement, and medical care are not adversarial in nature,
26   and thus, do not constitute either “legal proceedings” or “legal matters.”16 Plaintiffs’ reading
27
28
     16
       “Under generally accepted rules of syntax, an initial modifier will tend to govern all elements
     in the series unless it is repeated for each element.” Washington Educ. Ass’n v. Nat’l Right to
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 1   also violates the TVPRA. Title 8 U.S.C. § 1232(c)(5) must be read “consistent” with 8 U.S.C.
 2   § 1362, which states, in pertinent part, that “[i]n any removal proceedings ... the person concerned
 3   shall have the privilege of being represented (at no expense to the Government) by such counsel.”
 4   (Emphasis added.) Plaintiffs argue that “[t]o be ‘consistent with’ means to be ‘marked by
 5   agreement: COMPATIBLE.’” Pls.’ Opp. 51 (quoting merriam-webster.com). But providing
 6   legal representation at no expense to the Government in immigration proceedings is not “marked
 7   by agreement” with—and is plainly inconsistent with—providing government-funded counsel
 8   for challenges to routine child-welfare decisions.               Plaintiffs also contend that if
 9   section 1232(c)(5) contemplates representation solely during removal proceedings, then the
10   clause “to represent them in legal proceedings or matters and protect them from mistreatment,
11   exploitation, and trafficking” would be superfluous. Pls.’ Opp. 52. But that clause encompasses
12   not only representation, but also assisting minors to prepare for such immigration relief. See, e.g.,
13   8 U.S.C. §§ 1101(a)(15)(T) & (U), 1158. And while Plaintiffs challenge Defendants’ reference
14   to the statute’s legislative history, Pls.’ Opp. 52-53, the legislative history simply reinforces the
15   statute’s plain meaning.17
16            Thus, Plaintiffs’ claim that ORR’s policies and practices on legal representation violate
17   the TVPRA fails as a matter of law.
18   III.     CONCLUSION
19             For these reasons, the Court should grant summary judgment for Defendants on the step-
20   up, unfit-custodian, and legal-representation classes’ claims.
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26
     Work Legal Def. Found., Inc., 187 F. App’x 681, 682 (9th Cir. 2006) (internal quotations omitted).
27   17
        Plaintiffs complain that describing ORR’s release, placement, and medication decisions as
28   “day-to-day” “is to trivialize them.” Pls.’ Opp. 53. That is incorrect: many day-to-day decisions
     are important, but that does not mean each of those decisions is a legal proceeding or legal matter.
                                                       25
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 1   Dated: November 23, 2020                    Respectfully submitted,

 2                                               JEFFREY BOSSERT CLARK
 3                                               Acting Assistant Attorney General
 4                                               ERNESTO H. MOLINA
 5                                               Deputy Director
 6
                                                 CHRISTOPHER A. BATES
 7                                               Senior Counsel to the
 8                                               Assistant Attorney General
 9                                               /s/ W. Daniel Shieh
10                                               W. DANIEL SHIEH
                                                 BENJAMIN MARK MOSS
11
                                                 Senior Litigation Counsel
12
13                                               NANCY K. CANTER (263198)
                                                 JONATHAN K. ROSS
14                                               ANTHONY J. MESSURI
15                                               Trial Attorneys
                                                 Office of Immigration Litigation
16
                                                 United States Department of Justice
17                                               P.O. Box 878
18                                               Ben Franklin Station
                                                 Washington, D.C. 20044
19                                               Telephone: (202) 305-9802
20                                               Email: Daniel.Shieh@usdoj.gov
21                                               Counsel for Defendants
22
23
24
25
26
27
28

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 1                                   CERTIFICATE OF SERVICE
 2            I hereby certify that on November 23, 2020, I electronically transmitted the forgoing
 3   document to the Clerk for the United States District Court for the Central District of California
 4   using the CM/ECF system. I further certify that all participants in the case are registered CM/ECF
 5   users and that service will be accomplished through the CM/ECF system.
 6
 7                                                   Respectfully submitted,

 8                                                   /s/ W. Daniel Shieh
 9                                                   W. DANIEL SHIEH
                                                     Senior Litigation Counsel
10                                                   Office of Immigration Litigation
11                                                   United States Department of Justice
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